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7
8                            UNITED STATES DISTRICT COURT
9
                           CENTRAL DISTRICT OF CALIFORNIA
10
                          (WESTERN DIVISION – LOS ANGELES)
11
12   GRANT MCKEE, ERIC WEBER, and                      Case No. 2:17-cv-01941 GW (Ex)
13   MICHAEL ROGAWSKI, individually
     and on behalf of all others similarly
14   situated,                                         [PROPOSED] ORDER GRANTING
15                                                     PLAINTIFF MICHAEL
                  Plaintiffs,                          ROGAWSKI’S REQUEST UNDER
16                                                     LOCAL RULE 7-10 TO FILE
     v.
17                                                     SURREPLY IN OPPOSITION TO
     AUDIBLE, INC.,                                    AUDIBLE’S MOTION TO COMPEL
18                                                     ARBITRATION AND DISMISS
19                Defendant.                           CLAIMS

20                                                     Date:                July 23, 2018
                                                       Time:                8:30 a.m.
21                                                     Courtroom:           9D
22                                                     Judge:               Hon. George H. Wu
                                                       Trial date:          None set
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      [PROPOSED] ORDER GRANTING PLAINTIFF MICHAEL ROGAWSKI’S REQUEST UNDER LOCAL RULE 7-10 TO FILE
          SURREPLY IN OPPOSITION TO AUDIBLE’S MOTION TO COMPEL ARBITRATION AND DISMISS CLAIMS
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1         On June 25, 2018, Plaintiff Michael Rogawski filed a Request Under Local Rule
2 7-10 to File Surreply in Opposition to Audible’s Motion to Compel Arbitration and
3 Dismiss Claims. The request to file a surreply is GRANTED. Plaintiffs shall file the
4 surreply within three court days of the date of this Order.
5         Defendant Audible, Inc. is granted leave to file a supplemental brief of up to 10
6 pages responding to the surreply. Defendant shall file its supplemental brief on or before
7 noon on July 16, 2018.
8         IT IS SO ORDERED.
9
10 Dated:
11                                                    Honorable George H. Wu
12                                                    United States District Judge
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                                                  2
     [PROPOSED] ORDER GRANTING PLAINTIFF MICHAEL ROGAWSKI’S REQUEST UNDER LOCAL RULE 7-10 TO FILE
         SURREPLY IN OPPOSITION TO AUDIBLE’S MOTION TO COMPEL ARBITRATION AND DISMISS CLAIMS
